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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WEIFANG TENGYI JEWELRY                    )
TRADING CO., LTD                          )
                                          )
      Plaintiff/Counterclaim Defendant,   )                  Case No. 18-cv-4651
                                          )
      v.                                  )                  Judge John F. Kness
                                          )
JENS SORENSEN, et al.,                    )                  Magistrate Judge Jeffrey Gilbert
                                          )
      Defendants/Counterclaim Plaintiff.  )
__________________________________________)

       PLAINTIFF’S MOTION FOR JUDGMENT ON THE ANSWER OF THIRD
          PARTY CITATION RESPONDENT AND TURNOVER OF FUNDS

       Now Comes the Plaintiff, Weifang Tengyi Jewelry Trading Co., Ltd., by and through one

of its attorneys, Charles E. McElvenny, and in support of Plaintiff’s Motion for Judgment on

the Answer of Third Party Citation Respondent, PayPal Inc., and for Turnover of Funds,

states as follows:

       1.      On February 14, 2019, judgment was entered in this Court in favor of the

Plaintiff, Weifang Tengyi Jewelry Trading Co., Ltd. (Plaintiff), and against the Defendants in the

total amount of $200,000 per Defendant. See Exhibit 1 [Docket 178].

       2.      A Citation to Discover Assets to a Third Party was served on Third Party

PayPal, Inc., on April 15, 2020. See Citation, attached hereto as Exhibit 2.

       3.      PayPal, Inc. served its Answer on April 20, 2020, indicating that it is in

possession of non-exempt funds belonging to certain Defendants and indicating that $3307.45 in

total was being withheld. See PayPal, Inc.’s Answer, attached hereto as Exhibit 3.



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       4.       Supplementary      proceedings    to   enforce    a     judgment are governed by

Federal Rule of Civil Procedure 69(a) which provides that a district court is to use state

procedure governing the execution of any such judgment. Fed. R. Civ. P. 69(a).

       5.      Section 5/2-1402 of the Illinois Code of Civil Procedure provides that when

assets of a judgment debtor not exempt from the satisfaction of a judgment are

discovered, a court may enter an order or judgment compelling the person cited to deliver said

assets. 735 ILCS 5/2-1402.

       6.      As    such,   the   Plaintiff is   entitled   to   the    non-exempt   property   of

Defendants identified in Exhibit 3 in partial satisfaction of the Judgment Balance remaining

due.

       WHEREFORE, the Plaintiff Weifang Tengyi Jewelry Trading Co., Ltd., respectfully

requests that this Court enter a Judgment on its Third Party Citation and order Third Party

Citation Respondent, PayPal, Inc., to turnover to Plaintiff in partial satisfaction of the judgment,

the property of judgment debtors identified in Exhibit 3 in the total amount of $3307.45, and for

such other relief that this Court deems just and proper.


                                              Respectfully Submitted:
                                              /s/ Charles E. McElvenny
                                              Charles E. McElvenny

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